
770 So.2d 241 (2000)
L.W.T., Mother of J.W. and B.T., Children, Appellant,
v.
A.W., Appellee.
No. 1D00-2042.
District Court of Appeal of Florida, First District.
October 26, 2000.
John M. Merrett, Jacksonville, for appellant.
Michael J. Korn of Korn &amp; Zehmer, Jacksonville, for appellee.
PER CURIAM.
Appellant mother seeks review of shelter/detention orders which temporarily placed her children with a relative. Appellee moves to dismiss the appeal as moot, showing that the trial court has now entered orders withholding adjudication of dependency and returning the children to the custody of appellant. Appellant opposes dismissal, arguing the questions to be presented are of great public importance or are likely to recur. Holly v. Auld, 450 So.2d 217 (Fla.1984). We disagree. Appellant has failed to describe with specificity the questions of great public importance at issue or how the particular facts of this case are likely to recur and yet evade appellate review.
In light of our dismissal of this proceeding on mootness grounds, we decline to address appellant's suggestion that certiorari is the appropriate remedy and her request to convert her appeal to a petition for writ of certiorari.
APPEAL DISMISSED.
JOANOS, WOLF and BENTON, JJ., concur.
